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                                   *** ALERT ***
                                         Bankruptcy – MFR

THIS FILE’S CLIENT IS: U.S. Bank National Association
=====================================================================
Below lists any and all known specific requirements or rules for this client and/or for this District – State.


Please review the MFR Workbook for any servicer or jurisdiction specific requirements:
MFR Workbook.xlsx (sharepoint.com)


       The Motion for Relief fees and costs must be included in the post-petition default amount
        of the Motion for Relief and the Agreed Order.
       Personal property MFR: When referencing vehicle value from NADA/JD Power, use
        "Clean Retail." Must also state in motion this is the "clean retail" value.
       The below verbiage must be added to all MFRs (all States / all Chapters).

                Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The
        promissory note is either made payable to Creditor or has been duly indorsed. Creditor,
        directly or through an agent, has possession of the promissory note. Creditor is the
        original mortgagee or beneficiary or the assignee of the mortgage or deed of trust.


Please notify the MFR Lead if you become aware of any Client or Court requirements.
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                  IN THE UNITED STATES BANKRUPTCY COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)

 IN RE:
 BRENDA L JOHNSON                                      Case No. 23-21672-GLT
        Debtor
                                                       Chapter 13
 U.S. BANK NATIONAL ASSOCIATION
        Movant                                            Hearing Date: TBD

                                                          Hearing Time: TBD

                                                          Objection Date: TBD

 vs.
 BRENDA L JOHNSON
     And                                               11 U.S.C. §362
 RONDA J. WINNECOUR (TRUSTEE)
     Respondent

    NOTICE OF HEARING AND RESPONSE DEADLINE REGARDING MOTION OF
    U.S. BANK NATIONAL ASSOCIATION FOR RELIEF FROM THE AUTOMATIC
                                STAY


TO THE RESPONDENT(S):

               You are hereby notified that the Movant seeks an order affecting your rights or
property.

                You are further instructed to file with the Clerk and serve upon the undersigned
attorney for Movant a response to the Motion no later than TBD, (i.e., more than seventeen (17)
days after the date of service below), in accordance with the Federal Rules of Bankruptcy
Procedure, the Local Rules of this Court, and the general procedures of the presiding judge as
found on the Court’s webpage at www.pawb.uscourts.gov. If you fail to timely file and serve a
written response, an order granting the relief requested in the Motion may be entered and the
hearing may not be held. Please refer to the calendar posted on the Court’s webpage to verify if a
default order was signed or if the hearing will go forward as scheduled.

               You should take this Notice and the Motion to a lawyer at once.

                An in-person hearing will be held on TBD, at TBD before Judge Gregory L.
Taddonio in Courtroom A, 54th Floor U.S. Steel Tower, 600 Grant Street, Pittsburgh, PA, 15219.
In accordance with Judge Taddonio’s procedures, parties may appear for non-evidentiary matters
remotely by utilizing the Zoom video conference platform. Parties seeking to appear remotely must
register for the hearing by submitting a registration form via the link published on Judge
Taddonio’s website (which can be found at http://www.pawb.uscourts.gov/judge-taddonios-video-
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conference-hearing-information) by no later than 4 p.m. on the business day prior to the scheduled
hearing. All parties participating remotely shall comply with Judge Taddonio’s General
Procedures, (which can be found at http://www.pawb.uscourts.gov/sites/default/files/pdfs/glt-
proc.pdf).

              Parties who fail to timely register for remote participation will be expected to
attend the hearing in person.

                Only a limited time of ten (10) minutes is being provided on the calendar. No
witnesses will be heard. If there is an issue of fact, an evidentiary hearing will be scheduled by the
Court for a later date.

Date of Service: August 28, 2024

                                              /s/Mario Hanyon
                                              Andrew Spivack, PA Bar No. 84439
                                              Matthew Fissel, PA Bar No. 314567
                                              Mario Hanyon, PA Bar No. 203993
                                              Ryan Starks, PA Bar No. 330002
                                              Jay Jones, PA Bar No. 86657
                                              Attorney for Creditor
                                              BROCK & SCOTT, PLLC
                                              3825 Forrestgate Drive
                                              Winston Salem, NC 27103
                                              Telephone: (844) 856-6646
                                              Facsimile: (704) 369-0760
                                              E-Mail: PABKR@brockandscott.com
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                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)

 IN RE:
 BRENDA L JOHNSON                                          Case No. 23-21672-GLT
        Debtor
                                                           Chapter 13
 U.S. BANK NATIONAL ASSOCIATION
         Movant                                               Hearing Date: TBD

                                                              Hearing Time: TBD

                                                              Objection Date: TBD

 vs.
 BRENDA L JOHNSON
     And                                                   11 U.S.C. §362
 RONDA J. WINNECOUR (TRUSTEE)
     Respondent

                   ORDER MODIFYING SECTION 362 AUTOMATIC STAY
         AND NOW, this ____ day of ___________, 20___, upon Motion for Relief from the Automatic
stay filed by U.S. BANK NATIONAL ASSOCIATION (Movant), it is:

         ORDERED AND DECREED THAT THE MOTION IS GRANTED: The Automatic Stay
of all proceedings, as provided under 11 U.S.C. §362 of the Bankruptcy Code is modified with respect
to 1014 11th St, Mc Kees Rocks, Pennsylvania 15136, as more fully set forth in the legal description
attached to said mortgage, as to allow the Movant, its successors or assignees, to foreclose on its
mortgage or take any legal or consensual action for enforcement of its right to possession of, or title to,
said premises (such actions include but are not limited to the signing of a deed in lieu of foreclosure or
entering into a loan modification agreement) and to allow the purchaser of said premises at Sheriff's
Sale (or purchaser's assignee) to take any legal or consensual action for enforcement of its right to
possession of, or title to, said premises; it is further;

       ORDERED AND DECREED: that Movant shall be permitted to reasonably communicate
with Debtor and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy
law; and it is further;

       ORDERED that the Trustee is directed to cease making any further distributions to the
Creditor; and it is further

        ORDERED that FEDERAL RULE OF BANKRUPTCY PROCEDURE 4001 (a)(3)
waiting period is hereby waived and the Movant may immediately enforce this Order; and it is
further;
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       ORDERED that FEDERAL RULE OF BANKRUPTCY PROCEDURE 3002.1 is no longer
applicable to Movant, its successors or assignees.



                                Gregory L. Taddonio
                                BANKRUPTCY JUDGE
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                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)

 IN RE:
 BRENDA L JOHNSON                                         Case No. 23-21672-GLT
        Debtor
                                                          Chapter 13
 U.S. BANK NATIONAL ASSOCIATION
         Movant                                              Hearing Date: TBD

                                                             Hearing Time: TBD

                                                             Objection Date: TBD

 vs.
 BRENDA L JOHNSON
     And                                                  11 U.S.C. §362
 RONDA J. WINNECOUR (TRUSTEE)
     Respondent

   CERTIFICATE OF SERVICE OF MOTION FOR RELIEF FROM THE AUTOMATIC
                                STAY

       I certify under penalty of perjury that I served the above captioned pleading on the parties at the
addresses specified below or on the attached list on August 28, 2024.

The types of service made on the parties were: Electronic Notification and First Class Mail.

Service by First Class Mail:

BRENDA L JOHNSON
1014 11TH ST.
MC KEES ROCKS, PA 15136

Service by Electronic Notification:

KENNETH STEIDL
STEIDL & STEINBERG
SUITE 2830 GULF TOWER
707 GRANT STREET
PITTSBURGH, PA 15219
JULIE.STEIDL@STEIDL-STEINBERG.COM
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RONDA J. WINNECOUR
SUITE 3250, USX TOWER
600 GRANT STREET
PITTSBURGH, PA 15219
CMECF@CHAPTER13TRUSTEEWDPA.COM

OFFICE OF THE UNITED STATES TRUSTEE
1000 LIBERTY AVENUE
SUITE 1316
PITTSBURGH, PA 15222
USTPREGION03.PI.ECF@USDOJ.GOV

If more than one method of service was employed, this certificate of service groups the parties by
the type of service. For example, the names and addresses of parties served by electronic notice will
be listed under the heading “Service by Electronic Notification” and those served by mail will be
listed under the heading: Service by First Class Mail.”

Date: August 28, 2024
                                             /s/Mario Hanyon
                                             Andrew Spivack, PA Bar No. 84439
                                             Matthew Fissel, PA Bar No. 314567
                                             Mario Hanyon, PA Bar No. 203993
                                             Ryan Starks, PA Bar No. 330002
                                             Jay Jones, PA Bar No. 86657
                                             Attorney for Creditor
                                             BROCK & SCOTT, PLLC
                                             3825 Forrestgate Drive
                                             Winston Salem, NC 27103
                                             Telephone: (844) 856-6646
                                             Facsimile: (704) 369-0760
                                             E-Mail: PABKR@brockandscott.com
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                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)

 IN RE:
 BRENDA L JOHNSON                                       Case No. 23-21672-GLT
        Debtor
                                                        Chapter 13
 U.S. BANK NATIONAL ASSOCIATION
           Movant                                          Hearing Date: TBD

                                                           Hearing Time: TBD

                                                           Objection Date: TBD

 vs.
 BRENDA L JOHNSON
     And                                                11 U.S.C. §362
 RONDA J. WINNECOUR (TRUSTEE)
     Respondent

MOTION OF U.S. BANK NATIONAL ASSOCIATION FOR RELIEF FROM AUTOMATIC
   STAY UNDER §362 PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001

       Movant, by its attorney, Brock and Scott, PLLC hereby requests a termination of the Automatic

Stay and leave to proceed with its state court rights on its mortgage on real property owned by Brenda

L Johnson (the “Debtor”).

       1.      Movant is U.S. BANK NATIONAL ASSOCIATION.

       2.      Debtor, Brenda L Johnson, is the owner of the premises located at 1014 11th St, Mc

Kees Rocks, Pennsylvania 15136 hereinafter known as the mortgaged premises.

       3.      Debtor filed a Petition for Relief under Chapter 13 of the Bankruptcy Code on August

7, 2023.

       4.      Movant is the holder of a mortgage, original principal amount $76,997.00 on the

mortgaged premises, that was executed on December 29, 2011. The mortgage was recorded on

January 11, 2012 in the Office of the Recorded of Allegheny County as Book 40382, Page 521.

       5.      A Proof of claim has been filed by Movant on September 22, 2023, listing pre-petition
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arrears in the amount of $11,728.63. A copy of the Proof of Claim is attached hereto as Exhibit “A”

and made a part hereof.

        6.      As of August 1, 2024, the principal balance owed on the loan is $59,887.49.

        7.      The loan is contractually due for March 1, 2023 and interest in the amount of

$3,031.74 has accrued since the contractual due date and the date of this Motion.

        8.      In addition, the following charges, fees and costs have been added to the balance of the

loan and are due and owing to Movant: Escrow Advance in the amount of $10,801.40, Recording Fees

in the amount of $181.75, Recoverable Balance in the amount of $875.00, less funds in suspense in the

amount of $2,861.95.

        9.      As of August 1, 2024, the payoff due on the mortgage is $71,915.43.

        10.     The following chart sets forth the number and amount of post- payments due pursuant

to the terms of the Note that have been missed as of August 1, 2024:

 Number of             From                   To             Monthly          Total Amounts
  Missed                                                     Payment            Delinquent
 Payments                                                    Amount
    5               04/01/2024            08/01/2024          $688.98           $3,444.90
                                           Less partial payments (suspense balance): ($264.80)
                                                                            Total: $3,180.10

        11.     The next payment is due on or before September 1, 2024 in the amount of $688.98.

Under the terms of the Note and Mortgage, Debtor has a continuing obligation to remain current post-

petition and failure to do so results in a lack of adequate protection to Movant,

        12.     As of August 1, 2024, the amount necessary to reinstate the loan is $3,180.10.

        13.     The fair market value of the premises is $68,000.00 based on the Debtor's Schedule

A.B. A copy of the Debtor's Schedule A.B is attached hereto as Exhibit "B" and made a part hereof.

        14.     The Debtor may have equity in the premises.
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       15.     Debtor is in default under the terms of the Chapter 13 Plan. As of August 27, 2024, the

arrears listed on the Bankruptcy Trustee’s website are $6,135.00. A copy of the Trustee report is

attached hereto as Exhibit “C”.

       16.     Movant has cause to have the Automatic Stay terminated as to permit Movant to

complete foreclosure on its mortgage.

       17.     Movant specifically requests permission from the Honorable Court to communicate with

Debtor and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy law.

       18.     Movant, U.S. BANK NATIONAL ASSOCIATION request that the Court award

reimbursement in the amount of $1,249.00 for the Attorney fees and costs associated with this Motion.

       19.     Movant requests that if relief is granted that Federal Rule of Bankruptcy Procedure

3002.1 be waived.

       20.     Debtor(s) executed a promissory note secured by a mortgage or deed of trust. The

promissory note is either made payable to Creditor or has been duly indorsed. Creditor, directly or

through an agent, has possession of the promissory note. Creditor is the original mortgagee or

beneficiary or the assignee of the mortgage or deed of trust.

       WHEREFORE, Movant respectfully requests that this Court enter an Order;

       a.      Modifying the Automatic Stay under Section 362 with respect to 1014 11th St, Mc Kees

Rocks, Pennsylvania 15136 (as more fully set forth in the legal description attached to the Mortgage of

record granted against the Premises), as to allow Movant, its successors or assignees, to proceed with its

rights under the terms of said Mortgage; and

       b.      Movant specifically requests permission from this Honorable Court to communicate

with Debtor and Debtor's counsel to the extent necessary to comply with applicable nonbankruptcy law;

and

       c.      That the Trustee cease making any further distributions to the Creditor; and
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       d.        Awarding Movant attorney fees and costs related to this Motion in the amount of

$1,249.00; and

       e.        waiving Federal Rule of Bankruptcy Procedure 3002.1; and

       f.        granting any other relief that this Court deems equitable and just.



Date: August 28, 2024
                                                /s/Mario Hanyon
                                                Andrew Spivack, PA Bar No. 84439
                                                Matthew Fissel, PA Bar No. 314567
                                                Mario Hanyon, PA Bar No. 203993
                                                Ryan Starks, PA Bar No. 330002
                                                Jay Jones, PA Bar No. 86657
                                                Attorney for Creditor
                                                BROCK & SCOTT, PLLC
                                                3825 Forrestgate Drive
                                                Winston Salem, NC 27103
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                                                E-Mail: PABKR@brockandscott.com
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                   IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)

 IN RE:
 BRENDA L JOHNSON                                         Case No. 23-21672-GLT
        Debtor
                                                          Chapter 13
 U.S. BANK NATIONAL ASSOCIATION
         Movant                                              Hearing Date: TBD

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                                                             Objection Date: TBD

 vs.
 BRENDA L JOHNSON
     And                                                  11 U.S.C. §362
 RONDA J. WINNECOUR (TRUSTEE)
     Respondent


                       WAIVER OF 30 DAY HEARING REQUIREMENT

       NOW COMES, U.S. BANK NATIONAL ASSOCIATION, by and through its attorneys,

Brock and Scott, PLLC, and states that because the Court is unable to schedule a hearing on this matter

until after 30 days from the date of the filing of the Motion for Relief, Movant hereby waives the

requirement set forth in 11 U.S.C. Sec. 362(e) relating to the Motion for Relief from Stay filed on August

28, 2024.


Date: August 28, 2024
                                               /s/Mario Hanyon
                                               Andrew Spivack, PA Bar No. 84439
                                               Matthew Fissel, PA Bar No. 314567
                                               Mario Hanyon, PA Bar No. 203993
                                               Ryan Starks, PA Bar No. 330002
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                 IN THE UNITED STATES BANKRUPTCY COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)

 IN RE:
 BRENDA L JOHNSON                                         Case No. 23-21672-GLT
        Debtor
                                                          Chapter 13
 U.S. BANK NATIONAL ASSOCIATION
         Movant                                              Hearing Date: TBD

                                                             Hearing Time: TBD

                                                             Objection Date: TBD

 vs.
 BRENDA L JOHNSON
     And                                                  11 U.S.C. §362
 RONDA J. WINNECOUR (TRUSTEE)
     Respondent

   DEFAULT ORDER ON MOTION FOR RELIEF FROM THE AUTOMATIC STAY
        This            day of                        , 20         , upon default, no response
objecting to the Motion having been timely filed by an interested party, and upon Movant's
Certification of Service and Certification of No Objection, it is:

      ORDERED that the above-captioned Motion is granted insofar as it requests Relief from the
Automatic Stay imposed by 11 U.S.C. §362.

         Movant shall, within five (5) days hereof, serve a copy of the within Order on parties in
interest (unless they are otherwise served) and file a Certificate of Service.



                                                        Gregory L. Taddonio
                                                        BANKRUPTCY JUDGE

 cc:

BRENDA L JOHNSON
1014 11TH ST.
MC KEES ROCKS, PA 15136
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KENNETH STEIDL
STEIDL & STEINBERG
SUITE 2830 GULF TOWER
707 GRANT STREET
PITTSBURGH, PA 15219

RONDA J. WINNECOUR
SUITE 3250, USX TOWER
600 GRANT STREET
PITTSBURGH, PA 15219

OFFICE OF THE UNITED STATES TRUSTEE
1000 LIBERTY AVENUE
SUITE 1316
PITTSBURGH, PA 15222
